lCase 3:13-cv-00231-HES-.]RK Document 57 Filed 10/01/14 Page 1 of 2 Page|D 1254

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
DEBORAH PORTER CAHILL,

Plaintiff,
v. Case No. 3:13-cv-231-J-20JRK

TARGET CORPORATION, a Foreign
Profit Corporation,

Defendant.
l

Q_RD_EB

'I'his cause is before this Court on “Defendant Target Corporation’s Amended Motion in
Limine and Memorandum of Law” (Dkt. 45) and Plaintiff`s response thereto (Dkt. 47).

Accordingly, it is hereby ORDERED:

Defendant’s Motion in Limine and Incorporated Memorandum of Law (Dkt. 45) is
GRANTED in PART and DENIED in PART as follows:

l) Neither party shall be permitted to comment on the opposing party’s failure to call a
particular witness;

2) Plaintiff’s counsel is permitted to comment or present evidence that the Plaintiff’ s April
5, 2010 lumbar or January 31, 201 l cervical surgical procedures were related to the Target accident;

3) Neither party may make any comments, or present testimony, medical records or other
evidence about the Plaintiff’s previous miscarriage and/or pregnancy issues, marital problems,
custody issues, death of her children, court battles with her ex-husband. Medical records pertaining
to the aggravation of Plaintiff` s pre-existing condition may be used; and

4) Plaintiff will be permitted to comment on, present testimony, medical records and other

evidence about how Plaintif`f wanted to adopt the baby she was caring for at the time of the Target

4 ,Case 3:13-cv-OO231-HES-.]RK Document 57 Filed 10/01/14 Page 2 of 2 Page|D 1255

store accident.

DONE AND ENTERED at Jacksonville, Florida, this 423': day of October, 2014.

 

Copies to:

Nicholas Louis Ottaviano, Esq.
William T. Stone, Esq.

Dana Jacobs, Esq.

